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14                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
15                                     SAN FRANCISCO DIVISION
16
                                                      )   Case No. 07-5944-SC
17   In re: CATHODE RAY TUBE (CRT)                    )
     ANTITRUST LITIGATION                             )   MDL No. 1917
18                                                    )
                                                      )   [PROPOSED] ORDER GRANTING
19                                                    )   PHILIPS ELECTRONICS NORTH
                                                      )   AMERICA CORPORATION’S MOTION
20                                                    )   FOR LEAVE TO FILE MEMORANDUM
                                                      )   REGARDING PARALLEL STATE
21                                                    )   LITIGATION
     This Document Relates to:                        )
22                                                    )
     ALL CASES                                        )   Judge: Honorable Samuel Conti
23                                                    )   Courtroom: One, 17th Floor
                                                      )
24                                                    )
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                                                                                          MDL 1917
      [PROPOSED] ORDER GRANTING PHILIPS ELECTRONICS NORTH AMERICA CORPORATION’S MOTION
             FOR LEAVE TO FILE MEMORANDUM REGARDING PARALLEL STATE LITIGATION
          Case 3:07-cv-05944-JST Document 2895 Filed 10/02/14 Page 2 of 3




1           On September 8, 2014, the Court ordered both the State of California (the “State) and the

2    Indirect Purchaser Class (“IPPs”) to submit memoranda “describing the litigation in the California

3    state courts, the status of that litigation, the impact, if any, that the state court litigation may have on

4    the above litigation and any coordination of effort or proceedings with the state court that this court

5    should consider.” (Dkt. No. 2811) Because PENAC, like the State and the IPPs, is a party in both

6    the California state litigation and the above litigation but was not ordered to file a memorandum,

7    PENAC sought leave pursuant to Civil Local Rule 7-11 to file its own memorandum.

8           The Court having considered PENAC’s Motion for Leave to File its memorandum regarding
9    the Parallel State Litigation, and good cause appearing, IT IS HEREBY ORDERED that PENAC’s
10   Motion for Leave to File a Memorandum Regarding Parallel State Litigation is GRANTED.
11          The Clerk is directed to file PENAC’s Memorandum regarding Parallel State Litigation in
12   the above-captioned matter.
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14   I T I S SO ORDERED.
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17              October 2
     DATED: _________________, 2014                         _________________________________
                                                            HON. SAMUEL CONTI
18                                                          UNITED STATES DISTRICT JUDGE
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                                                                                                    MDL 1917
      [PROPOSED] ORDER GRANTING PHILIPS ELECTRONICS NORTH AMERICA CORPORATION’S MOTION
             FOR LEAVE TO FILE MEMORANDUM REGARDING PARALLEL STATE LITIGATION
         Case 3:07-cv-05944-JST Document 2895 Filed 10/02/14 Page 3 of 3




1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on September 18, 2014, I electronically filed the [Proposed] Order

3    Granting Philips Electronics North America Corporation’s Motion for Leave to File Memorandum

4    Regarding Parallel State Litigation with the Clerk of the Court using the CM/ECF system, which

5    will send notification of such filing to the counsel of record in this matter who are registered on

6    the CM/ECF system.

7                                                 By:       /s/Erik T. Koons    ________
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      [PROPOSED] ORDER GRANTING PHILIPS ELECTRONICS NORTH AMERICA CORPORATION’S MOTION
             FOR LEAVE TO FILE MEMORANDUM REGARDING PARALLEL STATE LITIGATION
